                 Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 1 of 30




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 7

 8                                UNITED STATES DISTRICT COURT

 9                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     SCALEMP, INC.,
11              Plaintiff,
          v.
12                                                    Case No. ________________
     TIDALSCALE, INC.,
13   ISAAC NASSI, and                                 COMPLAINT
     DAVID P. REED,
14                                                    JURY TRIAL DEMANDED
                Defendants.
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20          Plaintiff ScaleMP, Inc. (“ScaleMP”) submits this complaint against Defendants
21   TidalScale, Inc. (“TidalScale”), Dr. Isaac Nassi, and Dr. David Reed. Plaintiff alleges the
22   following:
23                                               PARTIES
24          1.       ScaleMP is a corporation duly organized and existing under the laws of the State
25   of Delaware, with its corporate headquarters located at 2175 Lemoine Ave., Suite 401, Fort Lee,
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                                                         1                               COMPLAINT
                  Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 2 of 30




 1   New Jersey 07024. From 2004-2013, ScaleMP was headquartered in this judicial district, at

 2   20863 Stevens Creek Blvd, Cupertino, California 95014.

 3           2.       ScaleMP is an industry leader in virtualization for in-memory high-end computing

 4   and a pioneer in developing technologies enabling the integration of multiple processors and

 5   memories into shared-memory computers. By way of assignment, it is the owner of all right, title

 6   and interest in U.S. Patent Nos. 8,544,004 (the “’004 patent”), 8,832,692 (the “’692 patent”), and

 7   9,020,801 (“the ’801 patent”) (collectively, the “Patents-In-Suit”).

 8           3.       On information and belief, TidalScale is a Delaware corporation with its principal

 9   place of business at 1694 Dell Ave, Campbell, California 95008.

10           4.       On information and belief, Dr. Isaac Nassi (“Nassi”) is a U.S. citizen domiciled at

11   14560 La Rinconada Drive, Los Gatos, California. On information and belief, Defendant Nassi is

12   the Founder, Chairman of the Board, and Chief Technical Officer of TidalScale.

13           5.       On information and belief, Dr. David Reed (“Reed”) is a U.S. citizen domiciled at

14   859 Greendale Avenue, Needham, Massachusetts. On information and belief, Defendant Reed is

15   the Chief Scientist of TidalScale.

16                                     JURISDICTION AND VENUE
17           6.       This action arises under the patent laws of the United States, 35 U.S.C. § 1 et seq.,

18   and under the Defend Trade Secrets Act, 18 U.S.C. § 1836 et seq. This Court has subject matter

19   jurisdiction over this patent infringement and trade secret action pursuant to 28 U.S.C. §§ 1331

20   and 1338(a).

21           7.       This Court has supplemental jurisdiction over ScaleMP’s state law claims

22   pursuant to 28 U.S.C. § 1367 because the claims are so related to the federal claims that they

23   form part of the same case or controversy under Article III of the United States Constitution.

24           8.       This Court has personal jurisdiction over TidalScale because TidalScale’s

25   headquarters and principal place of business in located the State of California, and because the

26   claims at issue in this case arise out of its conduct in the State of California.
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                                                            2                               COMPLAINT
                 Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 3 of 30




 1          9.       This Court has personal jurisdiction over Defendant Nassi because, on

 2   information and belief, Defendant Nassi resides and works in the State of California, and because

 3   the claims at issue in this case arise out of his conduct in the State of California.

 4          10.      This Court has personal jurisdiction over Defendant Reed because, on information

 5   and belief, Defendant Reed directed his tortious and other unlawful conduct described in this

 6   complaint to the State of California, and because the claims at issue in this case arise out of his

 7   conduct in the State of California. As described in greater detail below, Defendant Reed—while

 8   employed in the State of California at SAP AG and/or at one of its subsidiaries (“SAP”)—

 9   participated in a confidential, in-person “deep-dive” session with ScaleMP in the State of

10   California during which ScaleMP presented to Defendant Reed and others at SAP a wide variety

11   of ScaleMP’s highly sensitive and proprietary information that had never previously been

12   disclosed to the public. Defendant Reed subsequently gained access to additional confidential,

13   highly sensitive and proprietary information from ScaleMP through his role at SAP. Defendant

14   Reed thereafter left SAP and joined TidalScale, which is headquartered in the State of California.

15   On information and belief, Defendant Reed unlawfully used ScaleMP’s confidential, highly

16   sensitive and proprietary information to develop the Accused Products described below. On
17   information and belief, Defendant Reed worked primarily with others at TidalScale’s

18   headquarters in the State of California to develop the Accused Products. On information and

19   belief, Defendant Reed identified himself in official business correspondence as “David Reed,

20   Ph.D., Senior Vice President, SAP Chief Scientist Group, SAP Labs, LLC, 3410 Hillview Ave,

21   Palo Alto, CA 94304.” On information and belief, Defendant Reed and the other Defendants—

22   both of whom are domiciled in the State of California—began marketing, selling, and publicly

23   demonstrating the Accused Products in 2016. Defendant Reed has thus purposefully availed

24   himself of the benefits and protections of the State of California’s laws and of the privilege of

25   conducting activities in this State. In addition, the claims in this complaint arise out of

26   Defendant Reed’s conduct in the State of California.
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                                                            3                                COMPLAINT
               Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 4 of 30




 1           11.     Venue is proper in this federal judicial district pursuant to 28 U.S.C. § 1400(b)

 2   because Defendant TidalScale is headquartered and therefore resides in this judicial district;

 3   because, on information and belief, Defendant Nassi resides and works in this judicial district;

 4   because, on information and belief, Defendant Reed is employed by a company headquartered in

 5   this judicial district and spends time physically present in this judicial district as part of his

 6   employment; and because, as to all Defendants, a substantial part of the events or omissions

 7   giving rise to the claims occurred in this judicial district.

 8                                      FACTUAL ALLEGATIONS

 9           12.     ScaleMP is an industry leader in virtualization for in-memory high-end computing

10   and a pioneer in developing technologies enabling the integration of multiple processors and

11   memories into shared-memory computers. Among other innovations, ScaleMP developed the

12   first virtualization program in which a single virtual computer aggregates numerous separate and

13   independent computers consisting of processors and memories. These inventions dramatically

14   reduce the cost and complexity of using large computer servers, including those optimized for

15   mission critical and cloud environments.

16           13.     The roots of ScaleMP’s innovations lie in research conducted by its CEO and
17   founder, Shai Fultheim, a veteran of the intelligence service of the Israel Defense Forces. In the

18   early 2000’s, Mr. Fultheim and his co-inventors, Herb Zlotogorski and Yaniv Romem, came to

19   understand that the proliferation of cheap, small personal computers in the 1990’s, mostly

20   operating on Intel’s X86 processing platform, created serious challenges and opportunities for

21   managing their computing and memory capacities, challenges and opportunities that intensified

22   in the late 1990’s with increasing reliance on servers and, later, server farms. They recognized

23   the missing link involved aggregating many smaller computers into a single large one to reduce

24   the cost and time necessary to manage them. They also appreciated the opportunity to optimize

25   the use of computing resources, which could vary wildly between peak and normal usage. In

26   addition, they understood the limitations in the virtualization state of the art, including challenges
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                                                             4                                COMPLAINT
               Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 5 of 30




 1   in maintaining processor performance, sufficiently rapid communication between computers, and

 2   scalability.

 3           14.     The Patents-in-Suit, which resulted from their collaboration, claim and disclose

 4   software systems that aggregate processors and memory from multiple physical computers,

 5   operating separately and independently, into a single virtual machine. In certain embodiments of

 6   the invention, the virtual machine is shared between multiple virtual machine implementers, is

 7   run by a single guest operating system, and communicates with the physical computing resources

 8   using their respective input/output devices. In another aspect of the inventions in the Patents-in-

 9   Suit, the virtual machine presents the guest operating system with a single coherent shared

10   memory using the physical memory from the physical computing nodes and the virtual machine

11   implementer is configured to migrate a segment of the shared memory from one node to another.

12   Figure 1 of the ’801 Patent is illustrative:

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             15.     The inventions in the Patents-in-Suit have resulted in a reduction in system
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     management cost and complexity, a reduction in the cost of operating system licenses, a
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     simplified operating environment enabling programs to operate in parallel without the need for
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     an additional message-passing layer, and the ability to seamlessly use all system resources
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     without modifying the operating system or application code. ScaleMP’s inventions enable the
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                                                          5                               COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 6 of 30




 1   transparent use of processors and memory on multiple component machines, unaltered programs

 2   and operating systems to run utilizing resources, and distributed programs to run in processes. In

 3   addition, ScaleMP’s inventions reduce the time to market for superior commodity processor

 4   technology to find its way into multi-processor servers, dramatically lower the cost of designing,

 5   creating, procuring, and deploying multi-processor servers, and enable the use of existing

 6   software assets without requiring intrusive changes such as recompilation and operating system

 7   modifications.

 8          16.       ScaleMP has partnered with numerous major computer manufacturers and OEMs,

 9   including Dell, Hewlett-Packard, IBM, Fujitsu, and Hitachi, to deploy the inventions in the

10   Patents-in-Suit on thousands of servers around the world. The inventions have been used by

11   hundreds of companies and deployed on more than 8,000 computers across more than 37

12   countries. In September 2017, Lenovo introduced its Scalable Solution for SAP’s HANA data

13   platform powered by ScaleMP’s innovations, and in October 2017, Intel announced its new

14   Optane line of processors would include ScaleMP’s software solution.

15          17.       In addition to the inventions in the Patents-in-Suit, ScaleMP has developed highly

16   sensitive, proprietary methods of efficiently and effectively implementing the inventions,
17   including in the areas of memory and processor migration, protocol tracing, cache line

18   granularity, memory region permissions, integration with specific operating systems, the

19   identification of system-appropriate shared memory applications, run-time decisions related to

20   remote code execution (based on resource locality), and application tuning. ScaleMP has also

21   developed highly sensitive, proprietary business practices, including pricing and customer lists,

22   product discount programs, and sales and marketing strategies. This highly sensitive information

23   provides ScaleMP with a substantial competitive advantage in the market for virtualization for

24   in-memory high-end computing. This information is maintained in strict confidence by ScaleMP

25   and has never been revealed publicly by ScaleMP.

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                                                          6                              COMPLAINT
               Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 7 of 30




 1                         THE ORIGINS OF THE ACCUSED PRODUCTS

 2          18.     ScaleMP filed the application that would mature into the ’801 Patent on April 21,

 3   2004, claiming priority to two provisional applications filed on September 2, 2003 and August

 4   22, 2003. The application published on February 17, 2005.

 5          19.     On August 17, 2010, Nir Paikowsky, ScaleMP’s Vice President of Services, met

 6   for the first time with Defendant Nassi, then the Executive Vice President and Chief Scientist of

 7   SAP and currently the Founder, Chairman of the Board, and Chief Technical Officer of

 8   TidalScale. The next day, Mr. Paikowsky sent Defendant Nassi an email enclosing a PowerPoint

 9   presentation about ScaleMP’s technology. Shortly thereafter, on information and belief,

10   Defendant Nassi took steps toward acquiring a ScaleMP software system through a reseller.

11          20.     On October 25, 2010, Mr. Fultheim met with Defendant Nassi and Defendant

12   Nassi’s SAP group to discuss collaboration between ScaleMP and SAP. Defendant Nassi

13   expressed SAP’s intention to use a “scale-up” system for its future HANA data platform and

14   expressed strong interest in deploying a ScaleMP system. Shortly thereafter SAP decided to

15   move forward with purchasing a ScaleMP system with five nodes, each of which having four

16   processors.
17          21.     In December 2010, Defendant Reed, then a Senior Vice President at SAP in

18   Defendant Nassi’s group and currently Chief Scientist at TidalScale, began testing the ScaleMP

19   system that had been newly deployed on SAP’s platform, along with other members of

20   Defendant Nassi’s group.

21          22.     On December 31, 2010, SAP signed a non-disclosure agreement with ScaleMP

22   (“the NDA,” attached hereto as Exhibit D) in connection with the evaluation of ScaleMP’s

23   system by Defendant Nassi, Defendant Reed, and their group.

24          23.     According to the NDA, SAP and its “Representatives,” which the NDA defined to

25   include “employees of SAP AG and those entities directly or indirectly owned by SAP AG,”

26   agreed not to disclose any confidential information they received from ScaleMP during their
27   discussions, including “product offerings, content partners, product pricing, product availability,

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                                                          7                               COMPLAINT
               Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 8 of 30




 1   technical drawings, algorithms, processes, ideas, techniques, formulas, data, schematics, trade

 2   secrets, know-how, improvements, inventions (whether patentable or not), marketing plans,

 3   forecasts, and strategies.” (Ex. D at 1.)

 4          24.     SAP agreed to “take all reasonable steps” to keep this information strictly

 5   confidential, not to “disclose or reveal any Confidential Information to any person other than its

 6   Representatives who are actively and directly participating in the Evaluation or who otherwise

 7   need to know the Confidential Information for the purposes of the Evaluation,” not to “use

 8   Confidential Information for any purpose other than in connection with the Evaluation,” and not

 9   to disclose to anyone outside of the evaluation “any information about the Evaluation, or the

10   terms or conditions or any other facts relating thereto, including, without limitation, the fact that

11   discussions are taking place with respect thereto or the status thereof.” (Id.)

12          25.     On January 1, 2011, Defendant Reed reported that “[i]n general, it seems that the

13   system seems to be functional as expected.”

14          26.     On January 10-11, 2011, with the NDA in place, ScaleMP engaged in an in-

15   person “deep-dive” session in this judicial district in which Defendant Nassi, Defendant Reed,

16   and others on their team participated. During this deep-dive session, and at other times during
17   the parties’ discussions, Mr. Fultheim and others at ScaleMP presented to Defendant Nassi,

18   Defendant Reed, and others on their team, in visual, written, and oral form, a wide variety of

19   highly sensitive and proprietary information that had never previously been disclosed to the

20   public. This information included methods of efficiently and effectively implementing the

21   inventions, such as in the areas of memory and processor migration; protocol tracing, cache line

22   granularity, memory region permissions, integration with specific operating systems, the

23   identification of system-appropriate shared memory applications, run-time decisions related to

24   remote code execution (based on resource locality), and application tuning. This information

25   also included ScaleMP’s highly sensitive pricing and customer lists, product discount programs,

26   and sales and marketing strategies. ScaleMP and Defendant Reed subsequently exchanged
27   hundreds of emails containing ScaleMP’s highly sensitive information.

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                                                           8                                COMPLAINT
               Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 9 of 30




 1          27.     In addition, on or around January or February 2011, SAP agreed to ScaleMP’s

 2   End User License Agreement (“EULA,” attached hereto as Exhibit E), which accompanies the

 3   installation of all ScaleMP software systems.

 4          28.     The EULA defined as a “Licensed Work” ScaleMP’s “Software, enhancements,

 5   translations, derivatives, updates, bug fixes or improvements and related user documentation

 6   related thereto.” Under the terms of the EULA, SAP acknowledged that the Licensed Work

 7   “contain[ed] substantial trade secrets of ScaleMP” and undertook to “employ reasonable security

 8   precautions to maintain the confidentiality of such trade secrets” and to “prevent disclosure or

 9   dissemination of trade secrets embodied therein to any person, firm, organization, or employee,

10   except as necessary to exercise the rights granted to Licensee hereunder.” (Ex. E.)

11          29.     In addition, SAP undertook not to “directly or indirectly, ‘unlock,’ decompile,

12   modify or reverse-assemble the binary or object code portions or versions of the Licensed Work,

13   as the terms are generally used in the trade,” to “offer third parties any services, whether for a fee

14   or for no cost, that are based on or related to Licensee’s use of the Licensed Work,” or to

15   “directly or indirectly, copy, market, distribute, sublicense, lease, encumber or otherwise transfer

16   or attempt to transfer the Licensed Work or any portion thereof, or permit any third party to use
17   or have access to the Licensed Work.” (Id.)

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                                                           9                               COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 10 of 30




 1          30.     On February 8, 2011, Defendant Nassi presented the project’s status at the

 2   Hypertransport Conference. In that presentation, he praised the concept of “coherent shared

 3   memory” and included the following graphic:

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14          31.     On March 16, 2011, Defendant Nassi met with Dan Barnea, ScaleMP’s Board
15   Chairman, to discuss forming a strategic relationship between SAP and ScaleMP. Subsequently
16   the parties exchanged additional business and technical information in writing and verbally,
17   including the status of ScaleMP’s patent applications.
18          32.     On May 9, 2011, Paul Hofmann, a vice president of research and development in
19   Defendant Nassi’s group at SAP, presented the project at a conference on New Technologies for
20   the Sustainable Enterprise, in which he acknowledged ScaleMP’s contributions to “Scalable
21   coherent shared memory” in SAP’s new Big Iron deployment.
22          33.     On September 27, 2011, Defendant Nassi announced he would be leaving SAP
23   after October 28, 2011.
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                                                         10                             COMPLAINT
             Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 11 of 30




 1          34.    On October 24, 2011, while still at SAP, Defendant Nassi presented the project at

 2   the High Performance Transaction Systems Conference, again praising ScaleMP’s contributions

 3   and using the following graphic:

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12          35.    On October 26, 2011, Mr. Fultheim and Defendant Nassi discussed collaboration

13   over dinner, and Defendant Nassi suggested joining ScaleMP as Chief Technology Officer or a

14   board advisor. Ultimately Defendant Nassi did not join ScaleMP.

15          36.    At various times in 2012, Defendant Nassi delivered a presentation on enterprise

16   supercomputers at the University of California, Santa Cruz in which he again praised ScaleMP’s

17   contributions to “[s]calable coherent shared memory” and presented the same graphic above.

18          37.    In March 2012, TidalScale was formally incorporated.

19          38.    In December 2012, while still at SAP, Defendant Reed requested that ScaleMP

20   extend its license agreement with SAP and noted that SAP was extending its application of

21   ScaleMP’s platform to research into big data and machine learning. In subsequent years, SAP

22   would continually purchase ScaleMP products, renew its support agreement with ScaleMP

23   eleven times, and certify ScaleMP’s software for use on SAP HANA.

24          39.    In January 2013, Defendant Reed requested further sensitive pricing and technical

25   information from ScaleMP. Shortly thereafter, Defendant Reed departed SAP.

26          40.    On March 18, 2013, Mr. Fultheim, having heard rumors about a company called

27   TidalScale, asked Defendant Nassi about the company and how it might relate to ScaleMP. In

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                                                       11                             COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 12 of 30




 1   response, Defendant Nassi wrote: “I haven't given it much thought, and I'm open to suggestions.

 2   Of course, I acknowledge ScaleMP’s contributions to the state of the art, and say only good

 3   things when I talk about our joint experiences at SAP.”

 4          41.     On August 16, 2013, Defendant Nassi called Mr. Fultheim to inform him he had

 5   raised money for TidalScale.

 6          42.     On information and belief, at some point thereafter, Defendant Reed joined

 7   Defendant Nassi at TidalScale and became the company’s Chief Scientist. On various occasions

 8   between 2013 and 2017, Defendant Reed participated in numerous conferences and industry

 9   meetings in the State of California, including as TidalScale’s Chief Scientist.

10          43.     As set forth in greater detail below, on information and belief, at some point in

11   2016, TidalScale began marketing, selling, and publicly demonstrating the Accused Products.

12                                     THE ACCUSED PRODUCTS

13          44.     On information and belief, TidalScale, under the leadership of Defendants Nassi

14   and Reed, uses, makes, sells, offers to sell, and/or imports into the United States a suite of

15   software products, including the TidalScale Software-Defined Server platform, the TidalScale

16   HyperKernel, and the TidalScale Hypervisor Technology (collectively “the Accused Products”),
17   induces others to make, use, sell, offer to sell, and/or import into the United States the Accused

18   Products, and/or contributes to the making, using, selling, offering to sell, and/or importing into

19   the United States by others of the Accused Products. Representative examples of the Accused

20   Products, a complete list of which will be identified and provided as required during discovery,

21   and a short summary of some of the ways they infringe are set forth below. ScaleMP’s

22   investigation and identification of the Accused Products is ongoing and will be expanded in

23   discovery beyond the exemplars identified herein. The description of infringement in connection

24   with these exemplars is also not intended to be limiting, but merely a summary that may omit

25   certain detail to be provided in the course of litigation.

26          45.     On information and belief, and on the basis of information available on
27   TidalScale’s website, in its user manuals, and in other publicly available presentations, YouTube

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                                                            12                             COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 13 of 30




 1   videos, and marketing collateral, the Accused Products meet the limitations of many of the

 2   claims of the Patents-in-Suit.

 3          46.     As a general matter, according to TidalScale’s own description of the Accused

 4   Products, “[t]he HyperKernel binds multiple physical computers into a single, coherent virtual

 5   system that allows you to run an unmodified guest operating system, with no changes to your

 6   existing applications required.”

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            47.     Specifically, as claimed in the Patents-in-Suit, the Accused Products include
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     software that runs on a plurality of inter-communicating computers with hardware resources
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     comprising memory and input/output devices:
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             Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 14 of 30




 1          48.    In the Accused Products, as claimed in the Patents-in-Suit, multiple virtual

 2   machine implementers, which TidalScale labels “HyperKernels,” run separately and

 3   independently on each computer:

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            49.    In addition, as claimed in the Patents- in-Suit the Accused Products run a virtual
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     machine on the computers:
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                                                        14                              COMPLAINT
             Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 15 of 30




 1          50.    Moreover, as claimed in the Patents-in-Suit, the virtual machine in the Accused

 2   Products is shared between the virtual machine implementers using their input/output devices to

 3   intercommunicate:

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17          51.    Furthermore, in the Accused Products, as claimed in the Patents-in-Suit, a guest

18   operating system runs over the shared virtual machine:

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                                                        15                             COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 16 of 30




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 8          52.    Additionally, in accordance with other features claimed in the Patents-in-Suit, the

 9   Accused Products include software configured to run on computing nodes that include memory,
10   a network interface device, and a CPU and to run a guest operating system on a shared virtual
11   machine with instructions distributed for execution on the computing nodes as though the system
12   were a single symmetric multiprocessing machine with shared memory:
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20          53.    In addition, in accordance with yet other features claimed in the Patents-in-Suit,

21   the Accused Products include software that comprising a virtual machine implementer than is

22   configured to cause a migration of a segment of memory from one computing node to another:

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                                                        16                              COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 17 of 30




 1          54.     In addition, on information and belief, the Accused Products contain, embody and

 2   were developed using ScaleMP’s proprietary and highly sensitive information, documents, and

 3   other materials relating to its methods of efficiently and effectively implementing the invention,

 4   including in the areas of memory and processor migration, protocol tracing, cache line

 5   granularity, memory region permissions, integration with specific operating systems, the

 6   identification of system-appropriate shared memory applications, run-time decisions related to

 7   remote code execution (based on resource locality), and application tuning. On information and

 8   belief, during the development of the Accused Product, Defendants Nassi and Reed disclosed

 9   ScaleMP’s propriety and highly sensitive information to the others in the development team of

10   the Defendant TidalScale in the State of California.

11          55.     On information and belief, Defendants began marketing, selling, and publicly

12   demonstrating the Accused Products in 2016. On information and belief, Defendant TidalScale

13   announced its first industry partnership—a configuration of its software on IBM servers—in

14   June 2016. On subsequent occasions between June 2016 and the present time, Defendant

15   TidalScale announced sales of the Accused Products to and industry partnerships with companies

16   such as Ubuntu, TIBCO, OrionVM, Oracle, and NCS.
17          56.     Furthermore, on information and belief, Defendants have further developed the

18   Accused Products since they first began selling and marketing them. Subsequent acts of

19   developing, selling, marketing, and/or publicly demonstrating the Accused Products by

20   Defendants constitute unauthorized uses and/or disclosures of ScaleMP’s proprietary and highly

21   sensitive technical information.

22          57.     In addition, on information and belief, Defendants Nassi and Reed or others at

23   their direction at Defendant TidalScale unlocked, decompiled, modified, reverse-assembled,

24   copied, marketed, distributed, sublicensed, leased, encumbered or otherwise transferred or

25   attempted to transfer ScaleMP’s Licensed Work during the development of the Accused

26   Products.
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                                                            17                           COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 18 of 30




 1          58.     Moreover, on information and belief, since June 2016, TidalScale has been selling

 2   and marketing the Accused Products in accordance with and using ScaleMP’s proprietary and

 3   highly sensitive pricing and customer lists, product discount programs, and sales and marketing

 4   strategies. Acts of selling or marketing the Accused Products by Defendants constitute

 5   unauthorized uses of ScaleMP’s proprietary and highly sensitive pricing, sales, and marketing

 6   information, in addition to the above-described technical trade secrets.

 7                     COUNT ONE: INFRINGEMENT OF THE ’004 PATENT
                                 (As to Defendant TidalScale)
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            59.     U.S. Patent No. 8,544,004 (the “’004 patent”), entitled “Cluster-Based Operating
 9
     System-Agnostic Virtual Computing System,” was duly and legally issued by the United States
10
     Patent and Trademark Office on September 24, 2013 after a full and fair examination. ScaleMP
11
     owns the ’004 patent by assignment. The named inventors on the ’004 patent are Shai Fultheim,
12
     Herb Zlotogorski, and Yaniv Romem. A true and correct copy of the ’004 patent is attached
13
     hereto as Exhibit A.
14
            60.     The ’004 patent is valid and enforceable. TidalScale does not have a license to
15
     practice any of the inventions claimed in the ’004 patent.
16
            61.     TidalScale directly infringes at least claim 1 of the ’004 patent by making, using,
17
     selling, offering to sell, and/or importing the Accused Products, which meet every limitation of
18
     at least claim 1 of the ’004 patent.
19
            62.     In addition, TidalScale has actively induced and continues to actively induce
20
     others to directly infringe the ’004 patent by making, using, selling, offering to sell, and/or
21
     importing the Accused Products. Moreover, TidalScale has known of and/or should have known
22
     of the ’004 patent, at least by the date of the patent’s issuance, such that TidalScale knew and
23
     should have known that it was and would be inducing infringement. To the extent TidalScale
24
     was not previously aware of the ’004 patent, it is aware of it as of the filing of this complaint.
25
            63.     Moreover, on information and belief, TidalScale has contributed to the
26
     infringement of the ’004 patent by the Accused Products. On information and belief, TidalScale
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                                                           18                               COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 19 of 30




 1   has known and continues to know that the Accused Products include components that work in

 2   concert to perform specific, intended functions. Such specific, intended functions, carried out by

 3   these components, are a material part of the inventions of the ’004 patent and are not staple

 4   articles of commerce suitable for substantial non-infringing use. To the extent TidalScale was

 5   not previously aware of the ’004 patent, it is aware of it as of the filing of this complaint.

 6          64.     In addition, Defendant Nassi, TidalScale’s Founder, Chairman, Chief Technical

 7   Officer, and Chief Executive Officer from 2012-16, and Defendant Reed, its Chief Scientist,

 8   have been intimately familiar with the claimed inventions since at least as early as 2011 when

 9   they learned about ScaleMP’s technology under non-disclosure agreements when they installed

10   ScaleMP’s software on SAP’s systems in connection with potential strategic business ventures.

11   Thus, on information and belief, from at least as early as the issuance of the ’004 Patent, and in

12   no event later than the filing of this complaint, TidalScale has infringed, induced others to

13   infringe, and/or contributed to the infringement by others of the Accused Products with

14   knowledge of and/or willful blindness to the fact that such use infringes the ’004 patent, has

15   disregarded an objectively high likelihood of infringement of the ’004 patent, and has acted, and

16   continues to act, willfully, wantonly, and in deliberate disregard of ScaleMP’s rights.
17          65.     As the direct and proximate result of TidalScale’s conduct, ScaleMP has suffered

18   and, if TidalScale’s conduct is not stopped, will continue to suffer, severe competitive harm,

19   irreparable injury, and significant damages, in an amount to be proven at trial. Because

20   ScaleMP’s remedy at law is inadequate, ScaleMP seeks, in addition to damages, injunctive relief.

21   ScaleMP’s business operates in a competitive market and will continue suffering irreparable

22   harm absent injunctive relief.

23          66.     ScaleMP is entitled to injunctive relief and damages of no less than a reasonable

24   royalty in accordance with 35 U.S.C. §§ 271, 281, 283, and 284.

25          67.     TidalScale’s conduct, including its infringement of the ’004 patent, is exceptional

26   and entitles ScaleMP to attorney fees and costs under 35 U.S.C. § 285.
27

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                                                           19                               COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 20 of 30




 1          68.     From at least as early as the filing of this complaint, TidalScale has been on notice

 2   of its infringement of the ’004 patent, and its infringement has been and continues to be willful

 3   and egregious, entitling ScaleMP to enhanced damages in accordance with 35 U.S.C. § 284.

 4                     COUNT TWO: INFRINGEMENT OF THE ’692 PATENT
                                 (As to Defendant TidalScale)
 5
            69.     U.S. Patent No. 8,832,692 (the “’692 patent”), entitled “Cluster-Based Operating
 6
     System-Agnostic Virtual Computing System,” was duly and legally issued by the United States
 7
     Patent and Trademark Office on September 9, 2014 after a full and fair examination. ScaleMP
 8
     owns the ’692 patent by assignment. The named inventors on the ’692 patent are Shai Fultheim,
 9
     Herb Zlotogorski, and Yaniv Romem. A true and correct copy of the ’692 patent is attached
10
     hereto as Exhibit B.
11
            70.     The ’692 patent is valid and enforceable. TidalScale does not have a license to
12
     practice any of the inventions claimed in the ’692 patent.
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            71.     TidalScale directly infringes at least claim 1 of the ’692 patent by making, using,
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     selling, offering to sell, and/or importing the Accused Products, which meet every limitation of
15
     at least claim 1 of the ’692 patent.
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            72.     In addition, TidalScale has actively induced and continues to actively induce
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     others to directly infringe the ’692 patent by making, using, selling, offering to sell, and/or
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     importing the Accused Products. Moreover, TidalScale has known of and/or should have known
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     of the ’692 patent, at least by the date of the patent’s issuance, such that TidalScale knew and
20
     should have known that it was and would be inducing infringement. To the extent TidalScale
21
     was not previously aware of the ’692 patent, it is aware of it as of the filing of this complaint.
22
            73.     Moreover, on information and belief, TidalScale has contributed to the
23
     infringement of the ’692 patent by the Accused Products. On information and belief, TidalScale
24
     has known and continues to know that the Accused Products include components that work in
25
     concert to perform specific, intended functions. Such specific, intended functions, carried out by
26
     these components, are a material part of the inventions of the ’692 patent and are not staple
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                                                           20                               COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 21 of 30




 1   articles of commerce suitable for substantial non-infringing use. To the extent TidalScale was

 2   not previously aware of the ’692 patent, it is aware of it as of the filing of this complaint.

 3          74.     In addition, Defendant Nassi, TidalScale’s Founder, Chairman, Chief Technical

 4   Officer, and Chief Executive Officer from 2012-16, and Defendant Reed, its Chief Scientist,

 5   have been intimately familiar with the claimed inventions since at least as early as 2011 when

 6   they learned about ScaleMP’s technology under non-disclosure agreements when they installed

 7   ScaleMP’s software on SAP’s systems in connection with potential strategic business ventures.

 8   Thus, on information and belief, from at least as early as the issuance of the ’692 Patent, and in

 9   no event later than the filing of this complaint, TidalScale has infringed, induced others to

10   infringe, and/or contributed to the infringement by others of the Accused Products with

11   knowledge of and/or willful blindness to the fact that such use infringes the ’692 patent, has

12   disregarded an objectively high likelihood of infringement of the ’692 patent, and has acted, and

13   continues to act, willfully, wantonly, and in deliberate disregard of ScaleMP’s rights.

14          75.     As the direct and proximate result of TidalScale’s conduct, ScaleMP has suffered

15   and, if TidalScale’s conduct is not stopped, will continue to suffer, severe competitive harm,

16   irreparable injury, and significant damages, in an amount to be proven at trial. Because
17   ScaleMP’s remedy at law is inadequate, ScaleMP seeks, in addition to damages, injunctive relief.

18   ScaleMP’s business operates in a competitive market and will continue suffering irreparable

19   harm absent injunctive relief.

20          76.     ScaleMP is entitled to injunctive relief and damages of no less than a reasonable

21   royalty in accordance with 35 U.S.C. §§ 271, 281, 283, and 284.

22          77.     TidalScale’s conduct, including its infringement of the ’692 patent, is exceptional

23   and entitles ScaleMP to attorney fees and costs under 35 U.S.C. § 285.

24          78.     From at least as early as the filing of this complaint, TidalScale has been on notice

25   of its infringement of the ’692 patent, and its infringement has been and continues to be willful

26   and egregious, entitling ScaleMP to enhanced damages in accordance with 35 U.S.C. § 284.
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                                                           21                               COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 22 of 30




 1                   COUNT THREE: INFRINGEMENT OF THE ’801 PATENT
                               (As to Defendant TidalScale)
 2
            79.     U.S. Patent No. 9,020,801 (“the ’801 patent”), entitled “Cluster-Based Operating
 3
     System-Agnostic Virtual Computing System,” was duly and legally issued by the United States
 4
     Patent and Trademark Office on April 28, 2015 after a full and fair examination. ScaleMP owns
 5
     the ’801 patent by assignment. The named inventors on the ’801 patent are Shai Fultheim, Herb
 6
     Zlotogorski, and Yaniv Romem. A true and correct copy of the ’801 patent is attached hereto as
 7
     Exhibit C.
 8
            80.     The ’801 patent is valid and enforceable. TidalScale does not have a license to
 9
     practice any of the inventions claimed in the ’801 patent.
10
            81.     TidalScale directly infringes at least claim 1 of the ’801 patent by making, using,
11
     selling, offering to sell, and/or importing the Accused Products, which meet every limitation of
12
     at least claim 1 of the ’801 patent.
13
            82.     In addition, TidalScale has actively induced and continues to actively induce
14
     others to directly infringe the ’801 patent by making, using, selling, offering to sell, and/or
15
     importing the Accused Products. Moreover, TidalScale has known of and/or should have known
16
     of the ’801 patent, at least by the date of the patent’s issuance, such that TidalScale knew and
17
     should have known that it was and would be inducing infringement. To the extent TidalScale
18
     was not previously aware of the ’801 patent, it is aware of it as of the filing of this complaint.
19
            83.     Moreover, on information and belief, TidalScale has contributed to the
20
     infringement of the ’801 patent by the Accused Products. On information and belief, TidalScale
21
     has known and continues to know that the Accused Products include components that work in
22
     concert to perform specific, intended functions. Such specific, intended functions, carried out by
23
     these components, are a material part of the inventions of the ’801 patent and are not staple
24
     articles of commerce suitable for substantial non-infringing use. To the extent TidalScale was
25
     not previously aware of the ’801 patent, it is aware of it as of the filing of this complaint.
26
27

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                                                           22                               COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 23 of 30




 1          84.     In addition, Defendant Nassi, TidalScale’s Founder, Chairman, Chief Technical

 2   Officer, and Chief Executive Officer from 2012-16, and Defendant Reed, its Chief Scientist,

 3   have been intimately familiar with the claimed inventions since at least as early as 2011 when

 4   they learned about ScaleMP’s technology under non-disclosure agreements when they installed

 5   ScaleMP’s software on SAP’s systems in connection with potential strategic business ventures.

 6   Thus, on information and belief, from at least as early as the issuance of the ’801 Patent, and in

 7   no event later than the filing of this complaint, TidalScale has infringed, induced others to

 8   infringe, and/or contributed to the infringement by others of the Accused Products with

 9   knowledge of and/or willful blindness to the fact that such use infringes the ’801 patent, has

10   disregarded an objectively high likelihood of infringement of the ’801 patent, and has acted, and

11   continues to act, willfully, wantonly, and in deliberate disregard of ScaleMP’s rights.

12          85.     As the direct and proximate result of TidalScale’s conduct, ScaleMP has suffered

13   and, if TidalScale’s conduct is not stopped, will continue to suffer, severe competitive harm,

14   irreparable injury, and significant damages, in an amount to be proven at trial. Because

15   ScaleMP’s remedy at law is inadequate, ScaleMP seeks, in addition to damages, injunctive relief.

16   ScaleMP’s business operates in a competitive market and will continue suffering irreparable
17   harm absent injunctive relief.

18          86.     ScaleMP is entitled to injunctive relief and damages of no less than a reasonable

19   royalty in accordance with 35 U.S.C. §§ 271, 281, 283, and 284.

20          87.     TidalScale’s conduct, including its infringement of the ’801 patent, is exceptional

21   and entitles ScaleMP to attorney fees and costs under 35 U.S.C. § 285.

22          88.     From at least as early as the filing of this complaint, TidalScale has been on notice

23   of its infringement of the ’801 patent, and its infringement has been and continues to be willful

24   and egregious, entitling ScaleMP to enhanced damages in accordance with 35 U.S.C. § 284.

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                                                          23                              COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 24 of 30




 1           COUNT FOUR: VIOLATION OF THE DEFEND TRADE SECRET ACT,
                              18 U.S.C. § 1836 ET SEQ.
 2
            89.     ScaleMP’s proprietary and highly sensitive information, documents, and other
 3
     materials relating to its methods of efficiently and effectively implementing the invention—
 4
     including in the areas of memory and processor migration, protocol tracing, cache line
 5
     granularity, memory region permissions, integration with specific operating systems, the
 6
     identification of system-appropriate shared memory applications, run-time decisions related to
 7
     remote code execution (based on resource locality), and application tuning, as well as its pricing
 8
     and customer lists, product discount programs, and sales and marketing strategies individually
 9
     and collectively constitute trade secrets under the Defend Trade Secrets Act, 18 U.S.C. § 1836 et
10
     seq.
11
            90.     ScaleMP’s trade secrets derive independent economic value, actual or potential,
12
     from not being generally known to, and not being readily ascertainable through proper means by,
13
     another person who can obtain economic value from the disclosure or use of the information.
14
            91.     ScaleMP has taken reasonable steps to maintain the confidentiality of its trade
15
     secrets, including through contractual restrictions and electronic and physical security systems.
16
            92.     On information and belief, Defendants have acquired, disclosed, and/or used
17
     ScaleMP’s trade secrets under circumstances that constitute misappropriation of trade secrets in
18
     violation of 18 U.S.C. § 1836 et seq.
19
            93.     On information and belief, Defendants have misappropriated ScaleMP’s trade
20
     secrets after enactment of the Defend Trade Secrets Act of 2016 on May 11, 2016. Since May
21
     11, 2016, Defendants have developed, sold, marketed, and publicly demonstrated the Accused
22
     Products, thereby using and/or disclosing ScaleMP’s trade secrets without ScaleMP’s consent.
23
            94.     ScaleMP first had reason to believe that Defendants had misappropriated its trade
24
     secrets on or about 2016 when, on information and belief, Defendants began selling, marketing,
25
     and publicly demonstrating the Accused Products. Though only limited information about the
26
     Accused Products was available to ScaleMP at that time, and while Defendants’ misconduct
27

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                                                         24                              COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 25 of 30




 1   became evident only through information that became available later, ScaleMP could not by the

 2   exercise of reasonable diligence have discovered Defendants’ misappropriation of its trade

 3   secrets any earlier than 2016.

 4          95.     The trade secrets above are used and intended to be used in interstate commerce.

 5          96.     Pursuant to 18 U.S.C. § 1836(b)(3)(A), ScaleMP is entitled to preliminary and

 6   permanent injunctive relief, including injunctions enjoining Defendants from actual and

 7   threatened misappropriation and unlawful use of ScaleMP’s trade secrets.

 8          97.     Pursuant to 18 U.S.C. § 1836(b)(3)(B)(i)(I) and (II), ScaleMP is further entitled to

 9   damages adequate to compensate it for both the actual loss and unjust enrichment caused by

10   Defendants’ misappropriation and unlawful use of ScaleMP’s trade secrets.

11          98.     In addition, pursuant to 18 U.S.C. § 1836(b)(3)(B)(ii), ScaleMP is entitled to

12   damages caused by the misappropriation measured by imposition of liability for a reasonable

13   royalty for Defendants’ unauthorized disclosure or use of ScaleMP’s trade secrets.

14          99.     Moreover, pursuant to 18 U.S.C. § 1836(b)(3)(C), ScaleMP is entitled to

15   exemplary damages because Defendants’ misappropriation of ScaleMP’s trade secrets was

16   willful and malicious.
17          100.    Furthermore, pursuant to 18 U.S.C. § 1836(b)(3)(D), ScaleMP is entitled to

18   attorney fees because Defendants’ misappropriation of ScaleMP’s trade secrets was willful and

19   malicious.

20

21      COUNT FIVE: VIOLATION OF THE CALIFORNIA UNIFORM TRADE SECRET
                        ACT, CAL. CIV. CODE § 3426 ET SEQ.
22
            101.    ScaleMP’s proprietary and highly sensitive information, documents, and other
23
     materials relating to its methods of efficiently and effectively implementing the invention,
24
     including in the areas of memory and processor migration, protocol tracing, cache line
25
     granularity, memory region permissions, integration with specific operating systems, the
26
     identification of system-appropriate shared memory applications, run-time decisions related to
27

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                                                         25                               COMPLAINT
                Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 26 of 30




 1   remote code execution (based on resource locality), and application tuning, as well as its pricing

 2   and customer lists, product discount programs, and sales and marketing strategies individually

 3   and collectively constitute trade secrets under the California Uniform Trade Secrets Act, Cal.

 4   Civ. Code. § 3426 et seq. ScaleMP’s trade secrets derive independent economic value, actual or

 5   potential, from not being generally known to the public or any other person who can obtain

 6   economic value from the disclosure or use of the information.

 7          102.    ScaleMP has taken reasonable steps to maintain the confidentiality of its trade

 8   secrets, including through contractual restrictions and electronic and physical security systems.

 9          103.    On information and belief, Defendants have acquired, disclosed, and/or used

10   ScaleMP’s trade secrets under circumstances that constitute misappropriation of trade secrets in

11   violation of Cal. Civ. Code. § 3426 et seq.

12          104.    Specifically, on information and belief, Defendants have misappropriated

13   ScaleMP’s trade secrets by developing, selling, marketing, and publicly demonstrating the

14   Accused Products, thereby using and/or disclosing ScaleMP’s trade secrets without ScaleMP’s

15   consent.

16          105.    In addition, on information and belief, Defendants Reed and Nassi disclosed
17   ScaleMP’s trade secrets to others at Defendant TidalScale during the development of the

18   Accused Products.

19          106.    As the direct and proximate result of Defendants’ conduct, ScaleMP has suffered

20   and, if the Defendants’ conduct is not stopped, will continue to suffer, severe competitive harm,

21   irreparable injury, and significant damages, in an amount to be proven at trial.

22          107.    ScaleMP first had reason to believe that Defendants had misappropriated its trade

23   secrets on or about 2016 when, on information and belief, Defendants began selling, marketing,

24   and publicly demonstrating the Accused Products. Though only limited information about the

25   Accused Products was available to ScaleMP at that time, and while Defendants’ misconduct

26   became evident only through information that became available later, ScaleMP could not by the
27

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                                                          26                             COMPLAINT
              Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 27 of 30




 1   exercise of reasonable diligence have discovered Defendants’ misappropriation of its trade

 2   secrets any earlier than 2016.

 3          108.     Pursuant to Cal. Civ. Code § 3426.3(a), ScaleMP is entitled to recover damages

 4   for the actual loss caused by Defendants’ misappropriation of ScaleMP’s trade secrets, and is

 5   also entitled to recover for unjust enrichment caused by said misappropriation that is not taken

 6   into account in computing damages for actual loss.

 7          109.     In the alternative, ScaleMP is entitled to a reasonable royalty pursuant to Cal. Civ.

 8   Code § 3426.3(b) in the event neither damages nor unjust enrichment caused by

 9   misappropriation are provable.

10          110.     In addition, pursuant to Cal. Civ. Code § 3426.3(c), ScaleMP is entitled to

11   exemplary damages because Defendants’ misappropriation of ScaleMP’s trade secrets was

12   willful and malicious.

13          111.     Pursuant to Cal. Civ. Code § 3426.2(a), ScaleMP is entitled to injunctive relief,

14   including injunctions enjoining Defendants from actual and threatened misappropriation and

15   unlawful use of ScaleMP’s trade secrets.

16          112.     Furthermore, pursuant to Cal. Civ. Code § 3426.4, ScaleMP is entitled to attorney
17   fees and costs because TidalScale’s misappropriation of ScaleMP’s trade secrets was willful and

18   malicious.

19                                     DEMAND FOR JURY TRIAL

20          ScaleMP hereby demands a jury trial on all issues triable to a jury.

21                                        PRAYER FOR RELIEF

22          WHEREFORE, ScaleMP respectfully prays for entry of judgment in its favor on each

23          and every count recited above, including the following:

24

25          a) That TidalScale has directly and indirectly infringed, and continue to infringe, one or

26                more claims of the Patents-in-Suit;
27          b) That TidalScale be ordered to provide an accounting;

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                                                           27                              COMPLAINT
      Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 28 of 30




 1   c) That ScaleMP is entitled to, and should recover from TidalScale, all damages to

 2      which ScaleMP is entitled under 35 U.S.C. § 284, but in no event less than a

 3      reasonable royalty;

 4   d) That TidalScale be permanently enjoined from further infringement of the Patents-in-

 5      Suit;

 6   e) That ScaleMP, as the prevailing party, shall recover from TidalScale all taxable costs

 7      of court;

 8   f) That ScaleMP shall recover from TidalScale all pre- and post-judgment interest on

 9      the damages award, calculated at the highest interest rates allowed by law;

10   g) That TidalScale’s conduct was willful and that ScaleMP should therefore recover

11      treble damages, including attorney fees, expenses, and costs incurred in this action

12      and an increase in the damage award pursuant to 35 U.S.C. § 284;

13   h) That this case is exceptional and that ScaleMP shall therefore recover its attorney fees

14      and other recoverable expenses, under 35 U.S.C. § 285;

15   i) That Defendants have misappropriated ScaleMP’s trade secrets or have otherwise

16      violated the Defend Trade Secrets Act, 18 U.S.C. § 1836 et seq., with respect to
17      ScaleMP’s trade secrets;

18   j) That ScaleMP is entitled to, and should recover from Defendants, all damages

19      adequate to compensate ScaleMP for both the actual loss and unjust enrichment

20      caused by their misappropriation of ScaleMP’s trade secrets and other violations of

21      the Defend Trade Secrets Act, 18 U.S.C. § 1836(b)(3)(B)(i)(I) and (II);

22   k) That ScaleMP is entitled to, and should recover from Defendants, damages of no less

23      than a reasonable royalty for Defendants’ misappropriation of ScaleMP’s trade

24      secrets and other violations of the Defend Trade Secrets Act, 18 U.S.C. §

25      1836(b)(3)(B)(ii).

26   l) That Defendants’ misappropriation of ScaleMP’s trade secrets was willful and
27      malicious and that ScaleMP should therefore recover exemplary damages, attorney

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                                                  28                              COMPLAINT
      Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 29 of 30




 1      fees and costs under the Defend Trade Secrets Act, 18 U.S.C. § 1836(b)(3)(C) and

 2      (D);

 3   m) That Defendants be permanently enjoined from further misappropriation, use, and/or

 4      disclosure of ScaleMP’s trade secret, confidential and proprietary information and

 5      from other violations of the Defend Trade Secrets Act, 18 U.S.C. § 1836(b)(3)(A);

 6   n) That Defendants have misappropriated ScaleMP’s trade secrets or have otherwise

 7      violated the California Uniform Trade Secrets Act, Cal. Civ. Code § 3426 et seq.,

 8      with respect to ScaleMP’s trade secrets;

 9   o) That ScaleMP is entitled to, and should recover from Defendants, all damages

10      adequate to compensate ScaleMP for the actual loss caused by their misappropriation

11      of ScaleMP’s trade secrets and other violations of the California Uniform Trade

12      Secrets Act, Cal. Civ. Code § 3426.3(a);

13   p) That ScaleMP is entitled to, and should recover from Defendants, the unjust

14      enrichment caused by their misappropriation of ScaleMP’s trade secrets and other

15      violations of the California Uniform Trade Secrets Act, Cal. Civ. Code § 3426.3(a);

16   q) That ScaleMP is entitled to, and should recover from Defendants, a reasonable
17      royalty for Defendants’ misappropriation of ScaleMP’s trade secrets and other

18      violations of the California Uniform Trade Secrets Act, Cal. Civ. Code § 3426.3(b);

19   r) That Defendants’ misappropriation of ScaleMP’s trade secrets was willful and

20      malicious and that ScaleMP should therefore recover exemplary damages, attorney

21      fees and costs under the California Uniform Trade Secrets Act, Cal. Civ. Code

22      § 3426.3(c) and § 3426.4;

23   s) That Defendants be permanently enjoined from further misappropriation, use, and/or

24      disclosure of ScaleMP’s trade secret, confidential and proprietary information and

25      from other violations of the California Uniform Trade Secrets Act, Cal. Civ. Code

26      § 3426.2;
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                                                   29                          COMPLAINT
             Case 3:18-cv-04716-EDL Document 1 Filed 08/06/18 Page 30 of 30




 1         t) That Defendants return all of ScaleMP’s trade secret, confidential, and proprietary

 2             information in their possession to ScaleMP;

 3         u) That ScaleMP shall recover from Defendants such other and further relief as the

 4             Court deems appropriate.

 5
     Dated: August 6, 2018                      Respectfully submitted,
 6

 7                                              /s/ Michael Ng

 8                                              Michael Ng (CA SBN 237915)
                                                Michael M. Rosen (CA SBN 230964)
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10
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12                                              Michael.rosen@kobrekim.com

13                                              Counsel for Plaintiff ScaleMP, Inc.

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                                                       30                             COMPLAINT
